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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                  MONROE DIVISION

 ROBERT F. KENNEDY, JR. ET AL.                      CIVIL ACTION NO. 3:23-cv-00381


 VERSUS                                             JUDGE: TERRY A. DOUGHTY


 JOSEPH R. BIDEN ET AL.                             MAG. JUDGE: KAYLA D. MCCLUSKY


 ******************************************************************************
                        MOTION FOR PRELIMINARY INJUNCTION
 ******************************************************************************


                                         Notice of Motion

        PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 65, Plaintiffs hereby MOVE

 FOR A PRELIMINARY INJUNCTION.

                                         Relief Requested

        The relief requested is a preliminary injunction as specified further herein.

                                           Return Date

        Plaintiffs are mindful that a parallel preliminary injunction motion is pending in Missouri

 v. Biden, No. 3:22-cv-01213 (W.D. La.), that the Court has deferred ruling on consolidating the

 two cases, and that judicial resources are limited. Accordingly, in this Motion, Plaintiffs seek no

 new discovery and submit no new evidence, but solely: (1) propose a narrower preliminary

 injunction than that asked for in Missouri; and (2) clarify the applicable law. Because this

 Motion is intended to assist the Court while imposing little or no additional burden on any party,
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 Plaintiffs respectfully ask that it be heard on May 26, the same hearing date set for the parallel

 motion in Missouri.



                                                     /S/ G. Shelly Maturin, II
                                                     _______________________
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                                                     CONNIE SOMPAGNARO
                                                     Plaintiffs in Kennedy v. Biden,
                                                     No. 3:23-cv-00381

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